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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

 AARON BOOTH,                            §
     Plaintiff,                          §
                                         §
 v.                                      §        Civil Action No. 3:18-cv-104
                                         §
 GALVESTON COUNTY, et al.,               §
     Defendants.                         §


              DISTRICT COURT JUDGES’ RESPONSE TO
                   PLAINTIFF’S OBJECTIONS TO
      MAGISTRATE JUDGE’S MEMORANDUM AND RECOMMENDATION


       NOW COME Defendants District Court Judges of Galveston County

(Collectively, the “District Court Judges”), by and through the undersigned Assistant

Attorney General and file this Response to Plaintiff’s Objection to the Report and

Recommendation (ECF No. 275), and respectfully show the Court as follows:

                               I.     Introduction

       On August 7, 2019, Magistrate Judge Andrew Edison issued his Report and

Recommendation (ECF No. 267) which recommended denying Plaintiff’s first

preliminary injunction motion (ECF No. 3-1) based on his Fourteenth Amendment

claims and recommended granting his second preliminary injunction motion (ECF

No. 205) based on his Sixth Amendment claims. Plaintiff and Defendants filed their

respective objections.

                         II.   Argument and Authorities

       Any party may contest a Magistrate Judge’s findings by filing written

objections within fourteen days of being served with a copy of the Report and


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Recommendations. See Fed. R. Civ. P. 72. The Court must conduct a de novo review

of any of the Magistrate Judge’s conclusions to which a party has specifically objected.

See Fed. R. Civ. P. 72(b)(3).

      A. The Court Correctly Reviewed Galveston County’s Current Bail
         Process

      Galveston County revised its bail system to comply with the model injunction

set out in ODonnell II, which has been operational since October 1, 2018. There was

extensive testimony on this at the preliminary injunction hearing. Although Plaintiff

does not believe that model meets constitutional muster, the magistrate found

otherwise. ECF No. 267 at 15. The court found that it would be inappropriate to

require more than the Fifth Circuit required under ODonnell, and the District Court

Judges agree. Because the Galveston County bail system meets the procedural

standards set down in ODonnell, Booth cannot show a substantial likelihood of

success on his due process, equal protection, and procedural due process claims.

      Plaintiff’s voluntary cessation argument is both misplaced, because the Court

did not find that Booth’s claims are moot; and erroneous because it wrongly presumes

governmental defendants are acting in bad faith. Absent compelling evidence to the

contrary, a court is to presume that policy changes are legitimate and will not be

reversed as soon as the litigation is dismissed. Sossamon v. Lone Star State of Tex.,

560 F.3d 316, 325 (5th Cir. 2009). Notably, Government officials “in their sovereign

capacity and in the exercise of their official duties are accorded a presumption of good

faith because they are public servants, not self-interested private parties.” Id. This

Court received testimony from Galveston County that it had revised its bail



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procedures and had no plans to revert back to the previous system. This is adequate

to assume that the policy is in place and that Galveston will continue to follow the

revised system.

        B. Galveston County’s Current Bail Process Must Only Pass Rational
           Basis Review

        Despite Booth’s claims to the contrary, “[d]etention of indigent arrestees and

release of wealthier ones is not constitutionally infirm purely because of the length of

detention.” ODonnell v. Goodhart, 900 F.3d 220, 227 (5th Cir. 2018) (hereinafter

“ODonnell II”). “An Equal Protection Claim that an indigent person spends more

time incarcerated than a wealthier person is reviewed for a rational basis.” ODonnell

II, 900 F.3d at 226 (citing Doyle v. Elsea, 658 F.2d 512, 518 (7th Cir. 1981); Smith v.

U.S. Parole Comm’n, 752 F.2d 1056, 1059 (5th Cir. 1985); McGinnis v. Royster, 410

U.S. 263, 270 (1973)); see also Walker v. City of Calhoun, 901 F.3d 1245, 1262 (11th

Cir. 2018) (“Such scheme does not trigger heightened scrutiny under the Supreme

Court's equal protection jurisprudence.”).

        Heightened scrutiny is only applicable when a bail system includes the

automatic imposition of secured bail without meaningful consideration of other

alternatives, viz., an absolute deprivation of a right because of poverty without

sufficient procedural safeguards. Walker, 901 F.3d at 1261; ODonnell II, 900 F.3d at

230.

        Galveston’s current bail process does not automatically impose bail and, also,

includes the meaningful consideration of alternatives absent in ODonnell I: an initial

individual assessment and subsequent bail review hearing with the assistance of



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counsel. See ODonnell I, 882 F.3d at 546-549. At these hearings, magistrates weigh

an arrestee’s indigency, dangerousness, and flight risk to determine if alternatives to

money bail could secure an arrestee’s future appearance. TEX. CONST. art. I, § 11; TEX.

CODE CRIM. PROC. art. 17.15. Under this current process, a poor arrestee suffers no

“absolute deprivation” of the benefit he seeks, specifically being bailable by sufficient

sureties. Walker, 901 F.3d at 1261-1262.        Instead, he “must merely wait some

appropriate amount of time to receive the same benefit as the more affluent.” Id.

After such delay this arrestee arguably receives preferential treatment, in at least

one respect: being released on personal recognizance without having to provide any

money security. Therefore, Galveston’s new bail process does not trigger heightened

scrutiny under the Supreme Court's equal protection jurisprudence. M.L.B. v. S.L.J.,

519 U.S. 102, 127 (1996) (explaining that wealth-based sanctions are impermissible

when they are “not merely disproportionate in impact,” but “[r]ather, they are wholly

contingent on one’s ability to pay”); Ross v. Moffitt, 417 U.S. 600, 616 (1974)

(explaining that in a proceeding that involves indigents, "[t]he duty of the State . . .

is not to duplicate the legal arsenal that may be privately retained by a criminal

defendant . . . but only to assure the indigent defendant an adequate opportunity to

present his claims fairly”); San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 24

(1973) (noting that mere diminishment of a benefit was insufficient to make out an

equal protection claim: “[A]t least where wealth is involved, the Equal Protection

Clause does not require absolute equality or precisely equal advantages”); McGinnis,




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410 U.S. at 270 (examining a wealth based system that did not result in an absolute

deprivation under rational basis).

      Because Galveston’s current process does not cause an absolute deprivation

and heightened scrutiny is inapplicable, the current bail system must be reviewed

only for a rational basis. ODonnell II, 900 F.3d at 226 (applying rational basis review

to post ODonnell I bail system “because it is premised solely on inability to afford

bail, as distinguished from inability to afford bail plus the absence of meaningful

consideration of other possible alternatives”).      Galveston undoubtedly has “a

compelling interest in assuring the presence at trial of persons charged with crime.”

Pugh v. Rainwater, 572 F.2d 1053, 1056 (5th Cir. 1978); see, e.g., Ex parte Anderer,

61 S.W.3d 398, 404-05 (Tex. Crim. App. 2001) (en banc). Galveston may “requir[e] a

bail bond or the deposit of a sum of money subject to forfeiture” as a condition of

pretrial release in appropriate circumstances. Stack v. Boyle, 342 U.S. 1, 5 (1951); see

also TEX. CONST. art. I, § 11. This use of bail is so “basic to our system of law” that

the Texas Constitution specifically allows for release conditioned upon sufficient

sureties. Schilb v. Kuebel, 404 U.S. 357, 365 (1971); see also TEX. CONST. art. I, § 11.

In carrying out this legitimate interest, Galveston has implemented the exact

procedural safeguards set down by the Fifth Circuit in ODonnell I. For Booth to

succeed on his procedural claim, he must prove not only that the current system in

Galveston lacks a rational basis, but also that the identical system created by the

Fifth Circuit in ODonnell I fails to meet this deferential standard as well.




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      Considering these procedural safeguards, Booth’s only remaining argument is

that some arrestees may, after receiving the benefits of the current process, still not

be able to afford bail. Yet “that is an equal protection claim consistently rejected on

rational-basis review.” ODonnell II, 900 F.3d at 227 (citing McGinnis, 410 U.S. at

270; Smith, 752 F.2d at 1059). In fact, ODonnell I “already found that the substantive

right to release on ‘sufficient sureties’ is ‘not purely defined by what the detainee can

afford’ and ‘does not create an automatic right to pretrial release.’” ODonnell II, 900

F.3d at 226 (citing ODonnell I, 892 F.3d at 158).

      C. Booth’s Substantive Due Process Claims Fail

      In addition to his procedural claims, Booth asks this Court to create a

substantive due process right under the Federal Constitution that is far broader than

the right to be bailable upon sufficient sureties. He seeks to create an absolute right

to pretrial release without monetary condition unless the government can prove by

clear and convincing evidence that security is necessary.

      Yet, as the Fifth Circuit has pointed out, no substantive right to be free from

all wealth-based detention exists. ODonnell II, 900 F.3d at 225 (“Release might be

warranted were ‘one [to] assume[] a fundamental substantive due process right to be

free from any form of wealth-based detention. But . . . no such right is in view.”).

Moreover, Booth cannot bring such a substantive due process claim because “the law

requires ‘that if a constitutional claim is covered by a specific constitutional provision,

such as the . . . Eighth Amendment[’s prohibition against excessive bail], the claim

must be analyzed under the standard appropriate to that specific provision, not under

the rubric of substantive due process.’” Daves v. Dallas Cty., 341 F. Supp. 3d 688, 696


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(N.D. Tex. 2018) (citing Walker, 901 F.3d at 1259; United States v. Lanier, 520 U.S.

259, 272 (1997)); U.S. CONST. AMEND. VIII).

      Booth did not even attempt to raise an Eighth Amendment claim and did not

contend he could prove a violation. Booth cannot impermissibly use substantive due

process to circumvent the Eighth Amendment and this Court was correct in declining

to issue a preliminary injunction based on this non-existent right.

                                 III.   Conclusion

      For the foregoing reasons, the Court should overrule Plaintiff’s objections and

adopt Judge Edison’s recommendation denying Plaintiff’s motion for preliminary

injunction with respect to his equal protection, and due process claims.




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                            Respectfully submitted.

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                          CERTIFICATE OF SERVICE

        I hereby certify that on September 4, 2019, a true and correct copy of the
foregoing document has been electronically filed with the Clerk of the Court using
the electronic case filing system with the Court which automatically provided notice
to all attorneys of record.


                                      /s/ Dominique G. Stafford
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